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                                   STATEMENT OF FACTS

        Your affiant,                  , is a Special Agent with the Federal Bureau of Investigation
since December 2020 assigned to the Cincinnati Field Office. Currently, I am tasked with
investigating criminal activity on the U.S. Capitol grounds on January 6, 2021. As a Special Agent,
I am authorized by law or Government agency to engage in or supervise the prevention, detention,
investigation, or prosecution of violations of federal criminal laws. I have participated in multiple
investigations of violations of federal law, including interstate threats, illegal manufacture of
firearms, and domestic and international terrorism. I have participated in the execution of search
warrants, as well as the interview of witnesses and suspects.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in the United States Capitol to certify the vote count of the Electoral College of the 2020
Presidential Election, which had taken place on November 3, 2020. The joint session began at
approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and Senate
adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was
present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                      Identification of Joseph Valentour as BOLO 494-AFO

        Based on a review of video footage from January 6, 2021, investigators identified an
individual who appeared to assault multiple Metropolitan Police Department (“MPD”) officers on
the Lower West Terrace (“LWT”) beginning at approximately 2:04 p.m. That individual, initially
identified as BOLO 494-AFO wore a brown coat, light-colored jeans, and distinctive half-
glove/half-mitten hand coverings. Open-source researchers refer to BOLO 494-AFO as
#WestWanderer. In June 2023, the FBI preliminarily identified the male as Dayton, Ohio resident
Joseph Valentour (“VALENTOUR”).

       Investigators reviewed financial records for VALENTOUR. Several transactions that
occurred between January 5, 2021, and January 7, 2021, were identified, consistent with travel to
and from the Washington, D.C. metropolitan area. Those charges included hotel and Metro charges
in Alexandria, Virginia, and gas stations in Pennsylvania, Maryland, and West Virginia.

       In September 2023, a police officer spoke with VALENTOUR at his place of employment
in Centerville, Ohio. VALENTOUR provided the officer with his cellular telephone number (937)
XXX-XXXX, one of the telephone numbers previously identified through database checks as
associated with VALENTOUR. At the FBI’s request, the police officer reviewed images of BOLO
494-AFO, including Figures 1-4 shown below. Based on his face-to-face discussion with
VALENTOUR, the officer positively identified BOLO 494-AFO as VALENTOUR.




 Figure 1 and 2: Images of VALENTOUR from January 6, 2021, identified by the interviewing
                                       officer.
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 Figure 3: Image of VALENTOUR from January 6, 2021, identified by the interviewing officer.




 Figure 4: Image of VALENTOUR from January 6, 2021, identified by the interviewing officer.

        In addition, I subsequently reviewed two video stills showing VALENTOUR taken from
the interviewing officer’s body-worn camera (Figures 5-6 below). Based on my review of those
video stills and images taken of VALENTOUR on January 6, 2021, during the riot at the U.S.
Capitol, I believe they show the same person.
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  Figures 5 and 6: Video stills of VALENTOUR from BWC during an interview with a police
                                          officer.

                    Identification of Jonathan Wayne “Duke” Valentour

       Investigators obtained additional information that VALENTOUR’s son, Jonathan Duke
Valentour (“DUKE”), was present with VALENTOUR at the U.S. Capitol on January 6, 2021. In
August 2023, investigators identified photographs of DUKE from publicly available websites
(Figure 7 and 8 below) and linked him to telephone number (937) XXX-XXXX.
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               Figures 7 and 8: Images of DUKE from publicly available websites.

        Investigators compared Figures 7 and 8 and other known photographs of DUKE, including
his Colorado driver’s license photograph, with photographs and video stills showing an individual
participating in the riot on January 6, 2021, while wearing a blue coat, light colored jeans, dark
gloves, a dark backpack, and a red hat that said, “Make America Great Again.” Based on that
comparison, investigators believe that they are likely the same individual. In addition, investigators
identified multiple photographs and videos showing VALENTOUR and DUKE together at the
U.S. Capitol, including Figures 9 and 10 below.
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   Figures 9 and 10: Video stills of DUKE and VALENTOUR together at the U.S. Capitol on
                                       January 6, 2021.

       In May 2024, investigators spoke with an individual (INDIVIDUAL 1) who works at the
same company where DUKE is currently employed. INDIVIDUAL 1 was familiar with DUKE
and provided investigators with an employee photograph of DUKE (Figure 11 below).
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           Figure 11: Employee photograph of DUKE provided by INDIVIDUAL 1.

       In June 2024, investigators met with INDIVIDUAL 1 in person and presented
INDIVIDUAL 1 with a series of photographs (including Figures 12-15 below) depicting the person
described above as DUKE at the grounds of the U.S. Capitol Building in Washington, D.C.
INDIVIDUAL 1 positively identified the individual in the photographs as DUKE.




        Figure 12: Image of DUKE from January 6, 2021, identified by INDIVIDUAL 1.
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       Conduct of VALENTOUR and DUKE at the U.S. Capitol on January 6, 2021

       At approximately 2:04 p.m., an MPD officer’s body-worn camera (BWC) captured
VALENTOUR approaching the police line on the LWT by appearing to purposefully back into it.
After VALENTOUR made contact with the officer, and the officer tried to push him back (Figure
16 below), other rioters grabbed the officer’s baton and dragged him into the crowd.




       Figure 16: Video still of VALENTOUR pushing backwards into a Capitol police officer.

       Shortly thereafter, amid the ensuing chaos, additional BWC captured VALENTOUR
pushing against the police line. He touched an unknown police officer’s shield multiple times and
appeared to be working with other rioters to attempt to disarm the officer (Figures 17-18 below).
VALENTOUR’s efforts were eventually successful and the officer fell down stairs as a result.




Figures 17-18: Video stills of VALENTOUR attempting to remove a police officer’s shield

        Another officer went to assist the fallen USCP officer, VALENTOUR lowered his shoulder
to hip height and forcibly used his body weight to charge at and push the assisting officer below
the officer’s center of gravity, thereby impeding the assisting officer’s forward movement.
VALENTOUR’s efforts were successful as he moved the assisting officer away from the other
officers. Additional BWC showed VALENTOUR pushing the police line and make purposeful
contact with yet another officer (Figures 19-20 below). VALENTOUR then disengaged and moved
into the crowd of rioters.
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Figures 19 and 20: Video stills of VALENTOUR assaulting a police officer and making physical
                              contact with the officer as he did so.

        BWC footage also showed DUKE, wearing a blue coat, light colored jeans, a red “Make
America Great Again” hat, dark colored gloves and a dark colored backpack in roughly the same
area as his father. At approximately 2:04 p.m., DUKE charged through other rioters toward a police
line. As Duke approached officers, DUKE interfered with and resisted officers along the police
line by forcibly pushing the rioters in front of him into police. Duke simultaneously attempted to
grab and interfere with the officers at this location. Officers successfully repelled DUKE’s actions
and pushed him back down the steps.
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               Figure 24: Duke charging the police line behind another rioter.




         Figure 25: DUKE pushing against another rioter as he moved toward police.




                       Figures 26: DUKE pushing a rioter into police.

        A nearby police officer deployed pepper spray in DUKE’s direction, and DUKE quickly
retreated back down the stairs into the mob.
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                .
    Figure 27: A video still showing an officer deploying pepper spray in DUKE’s direction.




 Figure 28: A photograph posted to Instagram by a freelance photographer showing Duke after
                                    being pepper sprayed.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
VALENTOUR and DUKE violated 18 U.S.C. § 1752(a)(1), (2), and (4), which makes it a crime
to (1) knowingly enter or remain in any restricted building or grounds without lawful authority to
do so; (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; and (4) knowingly
engage in any act of physical violence against any person or property in any restricted building or
grounds; or attempt or conspire to do so. For purposes of Section 1752 of Title 18, a “restricted
building” includes a posted, cordoned off, or otherwise restricted area of a building or grounds
where the President or other person protected by the Secret Service, including the Vice President,
is or will be temporarily visiting; or any building or grounds so restricted in conjunction with an
event designated as a special event of national significance.
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